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UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 05-20052-B

ROBERTO ALONZO-LLERENA,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFllOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

re ort date of Monda Se tember 26 2005 at 9:30 a.m., in Courtroom 1, tlth F|oor

 

ot the Federal Building, lVlemphis, TN.
The period from August 12, 2005 through October14, 2005 is excludable under
18 U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a speidy tria|.

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with Ruie 55 and/or 32(b) l-"l-iCrP on '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20052 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

